 

 

Case 21-14486-abl Doc148 Entered 12/03/21 12:49:30 Page 1 of 3

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

Case No. 21-14486-abl

In re: Chapter 7
INFINITY CAPITAL MANAGEMENT, INC
Nite. DECLARATION OF
dba INFINITY HEALTH CONNECTIONS; ROBERT E. ATKINSON

Debtor.

 

I, ROBERT E. ATKINSON hereby declare:

1. Iam over the age of 18 and have personal knowledge of the facts stated herein.
Such personal knowledge is based upon my own acts, the records obtained in this case, my
own investigations, and discussions with my employed auctioneer. I am competent to testify
to the same.

2. Iam the trustee of the above-captioned bankruptcy estate.

3. I make this declaration in support of the EX PARTE MOTION FOR ORDER
SHORTENING TIME (“OST Motion”), which seeks an order shortening time for hearing on
the underlying motion entitled MOTION TO: (I) APPROVE SALE OF CERTAIN ASSETS;
(II) SET SALE/AUCTION PROCEDURES; AND (III) SET AUCTION HEARING DATE
(“Motion’’), and make these statements based on my personal knowledge, except as to those
matters stated upon information and belief.

4.  Pre-petition, debtor Infinity Capital Management Inc. (“Debtor’’) was engaged in

the business of purchasing receivables from medical providers.

 
 

 

Case 21-14486-abl Doc148 Entered 12/03/21 12:49:30 Page 2 of 3

5. Creditor HASelect-Medical Receivables Litigation Finance Fund International SP

(“HASelect”) is a secured creditor of the Debtor. Their pre-petition perfected security interest

covers all assets of the Debtor.

6. Tecumseh — Infinity Medical Receivable Fund, LP (“Zecumseh’’) has asserted in

this case that the Tecumseh Receivables are its property, not property of the Bankruptcy

Estate.

7. The Tecumseh Receivables have been generating money. I received the following

funds from the Debtor’s principal, which have been deposited into segregated estate bank

accounts:

A total of $75,402.85 in checks from certain of the Tecumseh Receivables (the
“TIF Checks’)

A total of $13,400.00 in checks from certain of the Tecumseh Receivables (the
“TIF+HAS Checks’’).

8. Ihave agreed to sell the following assets (collectively, the “Assets’”’) to HASelect,

on the terms and conditions contained in the Asset Purchase Agreement attached as Exhibit 1

to the Motion (the “A PA”):

Whatever interest the Bankruptcy Estate has (if any) in the Tecumseh
Receivables (inclusive of the $75,402.85 in monies from the TIF Checks, and
the $13,400.00 in monies from the TIF+HAS Checks), subject to the rights,
title, and interests that Tecumseh may have in this property, if any.

All claims and causes of action that could be brought by the Trustee or the
Bankruptcy Estate against any third party relating in any way to the Tecumseh
Receivables, pursuant to (i) chapter five of title 11 of the United States Code,
or (ii) all applicable or relevant state or federal laws (collectively, the
“Claims”). For avoidance of doubt, the Claims include, but are not limited to,
all causes of action that could be brought by the Trustee pursuant to Sections
542, 543, 544, 545, 547, 548, 549, 550, 551, 552, and 553 of the United States
Bankruptcy Code for any matter relating in any way to the Tecumseh
Receivables.

All books and records related to the foregoing that the Bankruptcy Estate
currently has in its possession.

 

 
 

 

Case 21-14486-abl Doc 148 Entered 12/03/21 12:49:30 Page 3of3

9. The APA is contingent upon Bankruptcy Court approval.

10. The purchase price for the Assets is $100,000.00 (“Jnitial Purchase Price”). That
amount is subject to overbid at auction, to be held by the Bankruptcy Court. HASelect is
aware that an auction will be held to identify any possible overbids.

11. The Motion also requests that the Court set certain auction procedures, and set an
auction hearing date and time.

12. The Court has heard several times in this case so far that the Tecumseh
Receivables are or will be a “melting ice cube”. Although I do not believe that any wasting
of that asset has yet occurred — it’s been only 11 weeks since the Petition Date —- Tecumseh
has expressed concerns that further delay without servicing will be detrimental.

###H HH #

I declare under penalty of perjury that the foregoing is true and correct, to the best of my

knowledge, information, and belief.
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ROBERT E. ATKINSON
CHAPTER 7 BANKRUPTCY TRUSTEE

 

 
